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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   IN RE:                                             §
                                                      §
   WC 1st and TRINITY LP,                             §             Case No. 20-10885-tmd
                                                      §
           Debtor.                                    §


     APPELLEE ROY F. & JOAN COLE MITTE FOUNDATION’S DESIGNATION OF
        ADDITIONAL ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

          In accordance with Bankruptcy Rule 8009(a)(2), Appellee The Roy F. & Joann Cole Mitte

  Foundation (“Mitte”) files its Designation of Additional Items to be Included in the Record on

  Appeal regarding Debtor’s appeal from the Order Granting Motion to Dismiss Case.

          Mitte designates the following additional items for inclusion in the record on appeal:

                               Description                                Filing Date     Docket No.

   Bankruptcy Court’s Docket Sheet, Case No. 20-10885-tmd; In                 NA              NA
   re: WC 1st and Trinity LP
   Global Notes, Methodology and Specific Disclosures Regarding             9/1/2020           54
   the Debtor’s Schedules of Assets and Liabilities and Statements
   of Financial Affairs
   Deposition Transcript of Barbara Lee, with Exhibits                        NA              NA




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                                               Respectfully Submitted,

                                               By:     /s/ William H. Daniel
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                                               ATTORNEYS FOR THE ROY F. & JOANN
                                               COLE MITTE FOUNDATION


                                  CERTIFICATE OF SERVICE

          I certify that on October 27, 2020, a true and correct copy of the foregoing documents was
  sent to all parties receiving notice through the ECF System in this Bankruptcy case and to the
  following via first-class mail:

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                                               /s/ William H. Daniel
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